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 1     JENNIFER HOLLIDAY, ESQ. (SBN 261343)
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 3     Los Angeles, California 90067
 4     dir. (805) 622-0225
       Attorney for Plaintiff Genevieve Morton
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 8                          UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10                                              MISC. CASE NO.: 2:22-cv-36
11      IN RE: DMCA § 512(h)
        SUBPOENA TO CLOUDFLARE,                 REQUEST TO THE CLERK FOR
12
        INC.                                    ISSUANCE OF SUBPOENA TO
13
                                                CLOUDFLARE, INC. PURSUANT TO
                                                17 U.S.C. § 512(H) TO IDENTIFY
14                                              ALLEGED INFRINGERS
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19           PETITIONER GENEVIEVE MORTON hereby requests that the Clerk of
20     this Court issue a subpoena to Cloudflare, Inc. (“Cloudflare”) to identify the alleged
21     infringer(s) at issue pursuant to the Digital Millennium Copyright Act (“DMCA”),
22     17 U.S.C. § 512(h) (the “Section 512(h) Subpoena”). The proposed Section 512(h)
23     Subpoena is attached hereto as Exhibit A.
24           The proposed Section 512(h) Subpoena is directed to Cloudflare the service
25     provider to which the infringing parties using the names posted content. The
26     following URLs contained the infringing content posted to the alleged infringer’s
27     website at issue:
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       https://bigtits.city/pic/22454/
       https://bigtits.city/pic/22453/
 3     https://bigtits.city/pic/22452/
 4        Morton has satisfied the requirements for issuance of a subpoena pursuant to 17
 5     U.S.C. § 512(h):
 6        1. Morton has submitted the proposed 512(h) Subpoena attached hereto as
 7           Exhibit A.
 8        2. Morton has submitted copies of confirmations of receipt of her notifications
 9           and her notifications sent pursuant to 17 U.S.C. § 512(c)(3)(A) as Exhibit B.
10        3. Morton has submitted a sworn declaration from counsel confirming that the
11           purpose for which the Section 512(h) Subpoena is sought is to obtain the
12           identity of an alleged infringer or infringers and such information will only
13           be used for the purposes of protecting Ms. Morton’s rights under title 17 of
14           the United States Code. See Decl. of Holliday
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17        Having complied with the statutory requirements, Morton respectfully requests
18     that the Clerk expeditiously issue and sign the proposed Section 512(h) Subpoena
19     pursuant to 17 U.S.C. § 512(h)(4) and return it for service to Cloudflare.
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       Dated: Feb. 20, 2022                   Respectfully submitted,
                                              __/s/_________________________
22
                                              JENNIFER HOLLIDAY, ESQ.
23                                            Attorney for Genevieve Morton
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              REQUEST TO THE CLERK FOR ISSUANCE OF DMCA §512(h) SUBPOENA
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DECLARATION OF JENNIFER HOLLIDAY IN SUPPORT OF REQUEST
             TO ISSUE DMCA 512(h) SUBPOENA


   1. My name is Jennifer Holliday, and I am a member of the State Bar of
      California licensed to practice in California and admitted to practice before
      this Court.
   2. On February 20, 2022, I prepared and submitted a subpoena (the
      “Subpoena”) pursuant to 17 U.S.C. § 512(h), to the Clerk of the United
      States District Court for the Central District of California via the ECF
      System.
   3. I do swear under penalty of perjury that the Subpoena sought is to obtain
      the identity of alleged copyright infringers, and that such information will
      only be used for the purpose of protecting the copyrights of Genevieve
      Morton, the registered copyright holder.
   4. I have personal knowledge of all facts set forth in this Declaration.
   5. The facts set forth in this Declaration are true and correct.




Executed under the laws of the State of California and of the United States on
20th Day of February 2022 in the State of Tennessee, Williamson County.


                                _________________________________
                                JENNIFER HOLLIDAY
                                ATTORNEY FOR GENEVIEVE MORTON
